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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

DEON TARRAL McDANIEL,                       §
                                            §
        Defendant/Petitioner,               §
                                            §
             v.                             § CRIMINAL NO. 4-95-235-001
                                            §
UNITED STATES OF AMERICA,                   §
                                            §
         Plaintiff/Respondent.              §

                                        ORDER

       Pending before the Court is Defendant/Petitioner Deon Tarral McDaniel’s

(“McDaniel”) Motion to Correct Sentence Pursuant to F.R.C.P. Title 18 U.S.C. §

3582(c)(2), wherein McDaniel contends that, because of Amendment 599 to the United

States Sentencing Guidelines (“U.S.S.G.” or “the Guidelines”), his sentence should be

reduced. (Dkt. No. 145.)

                                  Factual Background

       On February 1, 1996, McDaniel pled guilty to armed bank robbery, aiding and

abetting, in violation of 18 U.S.C. § 2113(d) (Count 1), and to use and carrying of a

firearm in a crime of violence, aiding and abetting, in violation of 18 U.S.C. § 924(c)(1)

(Count 2). (Dkt. No. 75 at 1.) On June 17, 1996, the Court sentenced McDaniel to 235

months imprisonment as to Count 1, followed by a consecutive term of 120 months as to

Count 2. (Id. at 2.) The Court also ordered McDaniel to pay a $100.00 special

assessment, a $10,000.00 fine, and restitution in the amount of $5,403.51. (Id. at 4.) In

calculating McDaniel’s sentence, the Court adopted as its findings the findings set forth

in the presentence investigation report (PSIR), except the Court found that McDaniel had




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accepted responsibility, warranting a 3-level reduction. (Id. at 7.) McDaniel’s PSIR was

prepared by the U.S. Probation Office using the 1995 edition of the Sentencing

Guidelines Manual. (Dkt. No. 46.)

                                     Legal Standard

       This Court has authority to modify or correct a previously imposed sentence only

in the “limited number of circumstances” set out in 18 U.S.C. § 3582(c). United States v.

Bridges, 116 F.3d 1110, 1112 (5th Cir. 1997). These circumstances are limited to the

following: (1) when the Bureau of Prisons moves the Court to modify the sentence for

reasons outlined in § 3582(c)(1); (2) on the government’s motion due to substantial

assistance or to correct a clerical mistake within seven days of the date the sentence was

imposed under Federal Rule of Criminal Procedure 35, according to § 3582(c)(1)(B); and

(3) when the Guidelines under which the defendant was sentenced have been

subsequently lowered, and a modification of sentence is consistent with the Guidelines’

policy statements pursuant to § 3582(c)(2). 18 U.S.C. § 3582(c).

       Attempting to proceed solely under the third circumstance, McDaniel argues that

he is entitled to a sentence reduction as a result of Amendment 599, which amended

Application Note 2 of the Commentary to U.S.S.G. § 2K2.4. Section 2K2.4 applies to,

among other offenses, convictions under 18 U.S.C. § 924(c) for use of a firearm during

and in relation to a crime of violence. When the Court sentenced McDaniel, Application

Note 2 of the Commentary to § 2K2.4 provided that “[w]here a sentence under this

section is imposed in conjunction with a sentence for an underlying offense, any specific

offense characteristic for the possession, use, or discharge of an explosive or firearm

(e.g., § 2B3.1(b)(2)(A)-(F) (Robbery)) is not to be applied in respect to the guideline for




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the underlying offense.” See also United States v. Dixon, 273 F.3d 636, 643 (5th Cir.

2001). Subsequent to McDaniel’s sentencing, Amendment No. 599 became effective.

Application Note 2 now states in part:

       If a sentence under this guideline is imposed in conjunction with a
       sentence for an underlying offense, do not apply any specific offense
       characteristic for possession, brandishing, use, or discharge of an
       explosive or firearm when determining the sentence for the underlying
       offense. A sentence under this guideline accounts for any explosive or
       weapons enhancement for the underlying offense of conviction, including
       any such enhancement that would apply based on conduct for which the
       defendant is accountable under § 1B1.3 (Relevant Conduct) . . . .

       As stated supra, § 3582(c)(2) allows a district court, in its discretion, to reduce a

term of incarceration where the defendant was sentenced based on a sentencing range that

has subsequently been reduced by an amendment to the Guidelines, but only if such a

reduction is consistent with the policy statements issued by the United States Sentencing

Commission. See 18 U.S.C. § 3582(c)(2); United States v. Boe, 117 F.3d 830, 831 (5th

Cir. 1997). The relevant policy statement is found at U.S.S.G. §1B1.10. Id. This section

lists the amendments to the Guidelines that are eligible for retroactive application.

U.S.S.G. § 1B1.10(c). Amendment 599 is listed. McDaniel was sentenced in this cause

on June 17, 1996. Since Amendment 599 became effective on November 1, 2000, the

Court may consider Amendment 599 in connection with McDaniel’s request for

reduction of sentence.

                                         Analysis

        McDaniel contends his sentencing range has been lowered by the adoption of

Amendment 599, and therefore his sentence should be reduced. Specifically, McDaniel

claims the Court improperly imposed weapons enhancements on his offense level for

robbery when it made the following adjustments:



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        Victim-Related Adjustments: During flight from the bank, the
        defendants assaulted the pursuing police officers [namely Missouri City
        Police Officer Lemerond] by shooting at them, wherein they created a
        substantial risk of bodily injury. Pursuant to U.S.S.G. § 3A1.2(b), three (3)
        levels are added.

(Dkt. No. 46 at 12 ¶ 37 (“Official Victim” enhancement).)

        Adjustment for Obstruction of Justice: The defendants shot at police
        officers while being pursued through a residential area, recklessly creating
        a risk of death or serious bodily injury to several residents [namely Kim
        Vo]. Pursuant to U.S.S.G. § 3C1.2, two (2) levels are added.

(Id. ¶ 39 (“Reckless Endangerment” enhancement).)

        Contrary to McDaniel’s assertion, the Court did not include a weapons

enhancement in calculating the offense level for his robbery conviction. The above

Official Victim and Reckless Endangerment enhancements were not specific offense

characteristics under U.S.S.G. § 2B3.1, but rather Chapter 3 adjustments, and therefore

were properly applied. Moreover, the PSIR as adopted by the Court addressed the issue

of double counting and explicitly stated that no weapons enhancement under U.S.S.G. §

2B3.1 would be made:

        Although the defendants brandished firearms during this robbery and later
        discharged those weapons at police during flight from the bank, no
        adjustment under this section will be applied pursuant to Application Note
        2 to U.S.S.G. § 2K2.4. Count 2, use of a firearm during a crime of
        violence, sanctions this conduct with a mandatory consecutive term of
        imprisonment. To avoid double counting, no increase will be applied
        under U.S.S.G. § 2B3.1(b)(2).

(Id. ¶ 33.)

        Thus, the Court finds no merit to McDaniel’s assertion that his sentencing range

has been lowered by the adoption of Amendment 599.

                                        Conclusion




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       Based on the foregoing, McDaniel has not demonstrated that he is entitled to

relief under an amendment that has been made retroactive under the Sentencing

Guidelines or that he is otherwise entitled to a reduction of his sentence. Accordingly, his

Motion to Correct Sentence Pursuant to F.R.C.P. Title 18 U.S.C. § 3582(c)(2) (Dkt. No.

145) is DENIED.

       It is so ORDERED this 12th day of March, 2009.




                                              ____________________________________
                                                          JOHN D. RAINEY
                                                 UNITED STATES DISTRICT JUDGE




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